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 August 14, 2020

Via CM/ECF AND ELECTRONIC MAIL

Steven John Moser, Esq.
Moser Law Firm, P.C.
3 School Street, Suite 207B
Glen Cove, New York 11542
smoser@moseremploymentlaw.com

         Re:     Meynard et al. v. Whole Foods Market Group, Inc.
                 E.D.N.Y. Docket No. 2:18-cv-86(SJF)(AKT)

Dear Attorney Moser:

       As you are aware, our Firm represents Defendant Whole Foods Market Group, Inc.
(“Defendant”) in this matter. Enclosed please find a Notice of Defendant’s Limited Motion to
Deny Class Certification or, Alternatively, Strike Class Allegations for Failure to Satisfy Rule
23(a)(1) and a supporting Memorandum of Law. Pursuant to Judge Feuerstein’s Individual Rules,
the motion papers will be bundled and filed upon completion of all briefing, which is set to occur
on September 24, 2020 per the briefing schedule entered by Judge Feuerstein following the July
15, 2020 status conference (DE-73). A copy of this letter is being electronically filed today.

         Please contact me directly with any questions in this regard.

                                                  Respectfully submitted,



                                                  Christopher M. Pardo

Enclosures

cc:      Hon. Sandra J. Feuerstein, U.S.D.J. (via CM/ECF and U.S. First-Class Mail, w/o encls.)




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